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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA



QUINTON BURNS, ET AL                                   CIVIL ACTION
                                                       NO. 22-2941
         V.



SEAWORLD PARKS & ENTERTAINMENT
INC., ET AL


                                   CIVIL JUDGMENT

       AND NOW, this 18th day of September 2024, in accordance with the verdict of

the jury, IT IS ORDERED that Judgment is entered in favor of Defendant, Seaworld Parks &

Entertainment Inc., and Seaworld Parks & Entertainment LLC and against Plaintiff, Quinton

Bums, et al.




                                                 WENDY BEETLESTONE, JUDGE
